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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                   )
 MARYLAND CHAPTER OF THE SIERRA                    )
 CLUB et al.,                                      )
                                                   )    No. 8:22-cv-2597
                Plaintiffs,                        )
                                                   )    Hon. Deborah K. Chasanow
        v.                                         )
                                                   )
 FEDERAL HIGHWAY ADMINISTRATION                    )
 et al.,                                           )
                                                   )
                Defendants.                        )


                                NOTICE OF APPEARANCE

       Please enter the appearance of Samuel R. Vice as lead counsel for Defendants the Federal

Highway Administration, Stephanie Pollack in her official capacity, and Gregory Murrill in his

official capacity (together the “Federal Defendants”) in the above captioned case. Service upon

the Federal Defendants of all papers other than those filed through the Court’s ECF system

should be addressed to Mr. Vice as follows:

                              Natural Resources Section
                              Environmental and Natural Resources Division
                              U.S. Department of Justice
                              P.O. Box 7611
                              Washington, D.C. 20044-7611

       Overnight deliveries, express mail, and UPS deliveries should be addressed as follows:

                              Natural Resources Section
                              Environmental and Natural Resources Division
                              U.S. Department of Justice
                              150 M Street, N.E.
                              Suite 2.900
                              Washington, D.C. 20002




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Dated: October 26, 2022



                                            Respectfully submitted,

                                            TODD KIM
                                            Assistant Attorney General

                                            By: /s/ Samuel R. Vice
                                            SAMUEL R. VICE
                                            Trial Attorney
                                            Natural Resources Section
                                            Environmental and Natural Resources Division
                                            U.S. Department of Justice
                                            P.O. Box 7611
                                            Washington, D.C. 20044-7611
                                            Tel: (202) 353-5540
                                            E-mail: samuel.vice@usdoj.gov

                                            Counsel for Federal Defendants




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of October, 2022 that a copy of the foregoing

Notice of Appearance has been electronically filed with the Clerk of Court and served on all

registered parties via CM/ECF.


                                                           By: /s/ Samuel R. Vice
                                                           SAMUEL R. VICE




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